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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                     CRIMINAL NO. 4:07cr26HTW-LRA

RONNIE W. BRANNETT AND
RONNIE W. BRANNETT, II


       ORDER GRANTING MOTION TO EXTEND TIME FOR REPORTING

       This day came on to be heard the motion of the Defendant Ronnie W. Brannett, II

through counsel, to extend his reporting date of August 19, 2009 to a date past August 19, 2009

on the grounds that Defendant has another court appearance on the 3rd day of September, 2009

and could not make same unless the extension is granted.

       The Court having considered same, hereby orders that Brannett’s reporting date is

rescheduled for the 14th day of September, 2009.

       ORDERED AND ADJUDGED this the 29th day of July, 2009.



                               s/ HENRY T. WINGATE

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                               HENRY T. WINGATE
                               CHIEF UNITED STATES DISTRICT COURT JUDGE
